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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND

        CHAMBERS OF                                                             101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                       BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                           (410) 962-7780
                                                                                     Fax (410) 962-1812
                                                                            MDD_SAGchambers@mdd.uscourts.gov


                                                         July 10, 2025

   LETTER TO COUNSEL

           Re: J.O.P., et al. v. U.S. Department of Homeland Security, et al.
               Civil Case No. 8:19-1944-SAG

   Dear Counsel:

           On July 3, 2025, this Court denied Class Counsel’s emergency motion for an order
   requiring Defendants to provide immediate notice upon the return of Cristian to the United States.
   ECF 317. The Court ordered Defendants to “advise as to the amount of time they would need to
   give Class Counsel notice if and when Cristian is returned to the United States.” Id. Defendants
   responded that they “will do their best to obtain the information and provide notice of Cristian’s
   return without undue delay, with the intent to provide notice within forty-eight hours upon
   Cristian’s return to the United States, if not earlier.” ECF 318.

           Class Counsel have filed a renewed motion for an order directing Defendants “to provide
   notice to the Court and Class Counsel within twelve hours of Class Member Cristian’s return.”
   ECF 320. Class Counsel contend that “forty-eight hours exceeds a reasonable timeframe given the
   purpose of Cristian’s return to the United States” because “Class Counsel expects that Defendants
   may move forward with adjudicating his asylum application on the merits, as he is due under the
   Settlement Agreement.” Id.

           The parties have reached a Settlement Agreement in this case, ECF 199-2, which governs
   the Court’s review at this stage. The Court directs Class Counsel to provide support, from the
   Settlement Agreement or otherwise, for their assertion that “forty-eight hours exceeds a reasonable
   timeframe,” ECF 320, and for their contention that they are entitled to any amount of notice other
   than what Defendants have already agreed to provide. Class Counsel should provide their response
   no later than Thursday, July 17, 2025.

          Despite the informal nature of this letter, it is an Order of the Court and should be docketed
   accordingly.

                                                         Sincerely yours,

                                                                 /s/

                                                         Stephanie A. Gallagher
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                                         United States District Judge
